                                                                            DISTRICT OF OREGON
                                                                                 FILED
                                                                               January 24, 2019
                                                                          Clerk, U.S. Bankruptcy Court



         Below is an order of the court.

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 5                                                       _______________________________________
                                                                   PETER C. McKITTRICK
 6                                                                 U.S. Bankruptcy Judge

 7
 8                               UNITED STATES BANKRUPTCY COURT

 9                                 FOR THE DISTRICT OF OREGON

10   In Re:                                       Bankruptcy Case
                                                  No. 16-33185-pcm7
11   PETER SZANTO,

12                       Debtor.
                                                  Adv. Proc. No. 18-3022-pcm
13   UNITED STATES TRUSTEE,
14                       Plaintiff,               ORDER SETTING TRIAL AND AMENDING
            v.                                    SCHEDULING AND SUPPLEMENTAL
15
                                                  SCHEDULING ORDERS
16
     PETER SZANTO,
17
                          Defendant.
18
19        The United States Trustee (the UST) has filed a complaint to deny
20   defendant a bankruptcy discharge.
21        IT IS HEREBY ORDERED that:
22        1.     The trial in this adversary proceeding will be held on October
23   23, 24 and 25, 2019, commencing at 9:00 a.m. on October 23 at the United
24   States Bankruptcy Court, District of Oregon, in Courtroom No. 1, located
25   at 1050 SW 6th Avenue, #700, Portland Oregon 97204.
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 1        2.   The Final Pretrial Conference will be held on October 16,

 2   2019, at 1:30 p.m. by telephone.

 3        3.   The parties must complete discovery by June 17, 2019.
 4        4.   No later than September 25, 2019, the parties shall exchange

 5   and deliver to the court (but not electronically file) three copies of

 6   all exhibits they intend to introduce in connection with the trial,
 7   except impeachment exhibits.    The UST and defendant shall also file with
 8   the Court a copy of their exhibit lists.       The exhibits must be marked

 9   and paginated in compliance with LBR 9017-1(b).        In addition, exhibits
10   in excess of 10 should be tabbed and presented in a three-ring binder.
11   Except for good cause shown, no exhibits will be received in evidence at

12   the trial unless presented in accordance with this order.
13        5.   Any objections to exhibits based on lack of foundation or
14   authenticity must be filed no later than October 9, 2019.           The court

15   will rule on evidentiary objections to the extent possible at the Final
16   Pretrial Conference.
17        6.   No later than September 25, 2019, the parties shall exchange

18   and file with the court a list of any witnesses they intend to have
19   testify at the final hearing.   Any witness whose name is not included on

20   a party’s witness list will not be allowed to testify, except for good

21   cause shown or solely for the purpose of impeachment.
22        7.   This amended scheduling order shall not be modified except

23   upon a showing of good cause and leave by the court.            Any request for

24   any modification of this order must be by written motion supported by an
25   affidavit stating sufficient facts demonstrating good cause, appropriate

26   use of prior time and that the extension/continuance was requested at


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 1   the earliest possible time, and no later than three business days before

 2   the date for which the extension is sought.        The affidavit or

 3   declaration supporting any motion to modify this amended scheduling
 4   order shall authenticate and include exhibits or documents supporting

 5   the factual contentions to the extent such documents or exhibits exist.

 6   Any motion not timely filed or adequately supported by evidence may be
 7   denied without hearing.
 8         8.   Except as modified herein, the original scheduling order (Doc.

 9   15) and supplemental scheduling order (Doc. 19) remain in full force and
10   effect.
11                                         ###
     Cc:   Peter Szanto
12         Martin L. Smith
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